Case 8:20-cv-00597-RGK-DFM Document7 Filed 03/26/20 Page 1 of 2 Page ID #:42

NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEYS) , CREAS POR
OR OF PARTY APPEARING IN PRO PER :

Tamara Zavaliyenko, Esq.
4521 Campus DRive, #325
Irvine, California 92612
Phone: (949) 656-7233

ATTORNEY(S) FOR: Plaintiffs and the Proposed Class

UNITED STATES DISTRICT COURT |
CENTRAL DISTRICT OF CALIFORNIA

 

Bourque CPAs and Advisors, Inc., et al., CASE NUMBER:

- $:20-cv-00597
Plaintifi(s),
¥

The People's Republic of China, et al.,

 

CERTIFICATION AND NOTICE
OF INTERESTED PARTIES
Defendant(s) (Local Rule 7.1-15

 

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for The Plaintiffs (Bourque CPAs and Advisors, Inc., et al.) and the Proposed Class
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. ‘These representations are made to enable the Court to evaluate possible disqualification
or recusal.

 

(List the names of ali such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY ° CONNECTION / INTEREST

BOURQUE CPAS AND ADVISORS, INC., a California Plaintiff/Individually and on behalf of putative classes
corporation;

GD SERVICES LLC, a California limited liability company; _Plaintiff/Individually and on behalf of putative classes
J&M CONSULTING LP, a Nevada limited partnership; Plaintiff/individually and on behalf of putative classes
NH APARTMENTS, INC., a California corporation; Plaintiff/Individually and on behalf of putative classes

RURAL HOUSING PRESERVATION FOUNDATION, a _Plaintiff/Individually and on behalf of putative classes
California non-profit corporation

THE PEOPLE'S REPUBLIC OF CHINA, a foreign nation ~ Defendant

FOR ADDITIONAL PARTIES PLEASE SEE ATTACHED FOR ADDITIONAL PARTIES PLEASE SEE ATTACHED

03/25/2020
Date

 

 

 

Attorney of record for (or name of party appearing in pro per):

Plaintiffs (Bourque CPAs and Advisors, Inc., et al.)

 

 

CV-30 (05/13) : NOTICE OF INTERESTED PARTIES
Case 8:20-cv-00597-RGK-DFM Document 7 Filed’ 03/26/20 Page 2of2 Page ID #:43

Tamara Zavaliyenko, Esq.
4521 Campus Drive, Suite 325
Irvine, California 92612
Phone: (949) 656-7233

Attorney for Plaintiffs and the Proposed Class

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Bourque CPAs and Advisors, Inc., et al., 7) CASE NUMBER:
. ) 8:20-cv-00597

Plaintiffs )

v. )

)
The People’s Republic of China, et al., ) CERTIFICATION AND NOTICE
y- OF INTERESTED PARTIES
Defendants ) ~ (Local Rule 7.1-1)
CONTINUATION

(List the names of all parties and identify their connection and interest)

PARTY:
THE PEOPLE’S LIBERATION ARMY;

MINISTRY OF EMERGENCY MANAGEMENT

OF THE PEOPLE’S REPUBLIC OF CHINA;

NATIONAL HEALTH COMMISSION OF
THE PEOPLE’S REPUBLIC OF CHINA;

MINISTRY OF CIVIL AFFAIRS OF .
THE PEOPLE’S REPUBLIC OF CHINA;

THE PEOPLE’S GOVERNMENT OF
HUBEI PROVINCE;

THE WUHAN INSTITUTE OF VIROLOGY;

THE PEOPLE’S GOVERNMENT OF
CITY OF WUHAN, CHINA

CONNECTION/INTEREST:
Defendant

Defendant
Defendant

Defendant

Defendant

Defendant

Defendant
